         Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 1 of 44




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                )
WESLEY IRA PURKEY,                              )
                                                )
                Plaintiff,                      )
                                                )
        v.                                      )       No. 1:19-cv-03570-TSC
                                                )
WILLIAM P. BARR and MICHAEL                     )
CARVAJAL 1,                                     )
                                                )
                Defendants.                     )
                                                )

                          MEMORANDUM IN SUPPORT OF
             PLAINTIFF WESLEY PURKEY’S OPPOSITION TO DEFENDANTS’
             MOTION TO DISMISS, OR IN THE ALTERNATIVE, TO TRANSFER




1
 Mr. Purkey has amended the case caption pursuant to Federal Rule of Civil Procedure 25(d). Under this
rule, the substitution of successor public officials is automatic and does not require formal amendment.
                Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 2 of 44




                                                        TABLE OF CONTENTS

INTRODUCTION ........................................................................................................................................ 1
BACKGROUND .......................................................................................................................................... 3
LEGAL STANDARDS ................................................................................................................................ 6
ARGUMENT ................................................................................................................................................ 7
           I.          Mr. Purkey’s Ford claims are ripe for review and this court has jurisdiction. ................... 7
                       A.     Mr. Purkey’s Ford due process claim is ripe for review. ...................................... 7
                       B.          Mr. Purkey’s execution is imminent and, accordingly, his Ford claim that he is
                                   currently incompetent to be executed is also ripe. ............................................... 10
                       C.          At a minimum, Mr. Purkey’s Ford claims fall under an exception to the mootness
                                   doctrine because it is capable of repetition yet evading review........................... 13
           II.         Mr. Purkey’s Ford claims are not “core habeas” and are properly before this Court....... 14
                       A.     The relief Mr. Purkey seeks is not limited to habeas because it does not challenge
                              his conviction or sentence and would not “necessarily bar” his execution.......... 14
                       B.          The habeas statute does not preempt a constitutional claim for equitable relief. 17
           III.        Mr. Purkey’s Complaint easily satisfies the pleading standard for showing that he is
                       incompetent to be executed and is entitled to process and an evidentiary hearing. .......... 20
                       A.     Defendants apply the wrong standard of review.................................................. 20
                       B.          Mr. Purkey has stated a sufficient claim of incompetency under any standard. .. 21
                                   i.          Defendants’ attack on the quality and variety of sources corroborating
                                               Mr. Purkey’s allegations of incompetence is inconsistent with the case
                                               law and well beyond the scope of review on a motion to dismiss. ......... 22
                                   ii.         Unsupported attacks on expert conclusions are also not a basis for
                                               dismissal at this stage of the case............................................................ 26
                                   iii.        Mr. Purkey’s own alleged statements and actions in related litigation also
                                               provide no basis for dismissal................................................................. 30
                                   iv.         Mr. Purkey’s ability to work with counsel is not irrelevant. .................. 32
     IV.   Venue is proper in the District of Columbia. .................................................................... 34
CONCLUSION ........................................................................................................................................... 35




                                                                             i
              Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 3 of 44



                                                     TABLE OF AUTHORITIES

                                                                                                                                            Page(s)

Cases

Amaya-Ruiz v. Steward,
   136 F. Supp. 2d 1014 (D. Ariz. 2001) .................................................................................................. 23

Armstrong v. Exceptional Child Ctr., Inc.,
   575 U.S. 320 (2015) ............................................................................................................................. 18

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ......................................................................................................................... 6, 21

Barr v. Roane,
   140 S. Ct. 353 (2019) (Mem. Op.) ......................................................................................................... 4

Billiot v. Epps,
     No. CIV.A. S86-0549(L), 2005 WL 2877731 (S.D. Miss. Oct. 28, 2005) .......................................... 11

Billot v. Epps,
    671 F. Supp. 2d 840 (S.D. Miss. 2009) ................................................................................................ 24

Bingham v. State,
   169 P.2d 311 (Okla. Crim. App. 1946) ................................................................................................ 34

Carlson v. Green,
   446 U.S. 14 (1980) ............................................................................................................................... 18

Commonwealth v. Banks,
   29 A.3d 1129 (Pa. 2011)........................................................................................................... 10, 18, 32

Commonwealth v. Banks,
   943 A.2d 230 (Pa. 2007)......................................................................................................................... 8

Commonwealth v. Jermyn,
   652 A.2d 821 (Pa. 1995)....................................................................................................................... 34

Commonwealth v. Sam,
   952 A.2d 565 (Pa. 2008)....................................................................................................................... 16

Connor v. Sec’y, Fla. Dep’t of Corr.,
   713 F.3d 609 (11th Cir. 2013) .............................................................................................................. 11

Davis v. Kelley,
   854 F.3d 967 (8th Cir. 2017) ................................................................................................................ 16

In re Fed. Bureau of Prisons’ Execution Protocol Cases,
    Case No. 19-mc-145 (TSC), 2019 WL 6691814 (D.D.C. Nov. 20, 2019) ......................................... 1, 4




                                                                          ii
              Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 4 of 44



In re Fed. Bureau of Prisons’ Execution Protocol Cases,
    No. 19-5322 (D.C. Cir. Nov. 22, 2019) .................................................................................................. 4

Ford v. Wainwright,
   477 U.S. 399 (1986) ...................................................................................................................... passim

Guo Wengui v. Clark Hill, PLC,
   Civil Action No. 19-3195 (JEB), 2020 WL 837166 (D.D.C. Feb. 20, 2020)......................................... 6

Hill v. McDonough,
    547 U.S. 573 (2006) ....................................................................................................................... 15, 17

Holmes v. Neal,
   816 F.3d 949 (7th Cir. 2016) ................................................................................................................ 11

Hubbard v. Campbell,
   379 F.3d 1245 (11th Cir. 2004) (Barkett, J., dissenting) ...................................................................... 19

Indiana v. Edwards,
    554 U.S. 164 (2008) ............................................................................................................................. 16

Isom v. State,
    462 S.W.3d 638 (Ark. 2015) ................................................................................................................ 11

Ex parte Jordan,
    758 S.W.2d 250 (Tex. Crim. App. 1988) (en banc) ............................................................................... 8

Kemp v. Cockrell,
   No. 4:99-CV-490-Y, 2003 WL 21448584 (N.D. Tex. Mar. 25, 2003) .......................................... 13, 14

Kingdomware Techs., Inc. v. United States,
   136 S. Ct. 1969 (2016) ......................................................................................................................... 13

Meshal v. Higgenbotham,
   804 F.3d 417 (D.C. Cir. 2015) (Pillard, J., dissenting)......................................................................... 18

Moghaddam v. Pompeo,
   Civil Action No. 19-668 (CKK), 2020 WL 364839 (D.D.C. Jan. 22, 2020) ......................................... 6

Nelson v. Campbell,
    541 U.S. 637 (2004) ............................................................................................................................. 15

In re Ohio Execution Protocol Litig.,
    Case 2:11-cv-01016-EAS- MRM (S.D. Ohio Apr. 30, 2018) .............................................................. 30

Overstreet v. State,
   993 N.E.2d 179 (Ind. 2013) .................................................................................................................. 34

Panetti v. Dretke,
   401 F. Supp. 2d 702 (W.D. Tex. 2004) ................................................................................................ 24



                                                                          iii
              Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 5 of 44



Panetti v. Quarterman,
   551 U.S. 930 (2007) ................................................................................................................. 23, 24, 29

Roane v. Gonzalez,
   Civ. Action No. 05-2337 (D.D.C. July 22, 2008)................................................................................. 10

Seminole Tribe of Fla. v. Florida,
   517 U.S. 44 (1996) ............................................................................................................................... 18

Simmat v. U.S. Bureau of Prisons,
   413 F.3d 1225 (10th Cir. 2005) ............................................................................................................ 19

Singleton v. Norris,
    319 F.3d 1018 (8th Cir. 2003) .............................................................................................................. 16

In Re Smith,
    176 P. 819 (N.M. 1918) ........................................................................................................................ 34

Stanley v. Davis,
    No. 07-cv-4727, 2015 WL 435077 (N.D. Cal. Feb. 2, 2015) ............................................................... 19

Stanley v. Martel,
    No. 3:14-cv-4109 04727-EMC (N.D. Cal. Feb. 15, 2012) ................................................................... 19

State v. Downs,
    631 S.E.2d 79 (S.C. 2006) .................................................................................................................... 33

State v. Harris,
    789 P.2d 60 (Wash. 1990) (en banc) .................................................................................................... 33

State v. Irick,
    320 S.W.3d 284 (Tenn. 2010) .............................................................................................................. 34

State v. LeGrande, 95 CRS 567 (N.C. Super. Ct. June 27, 2008)............................................................... 29

State v. Perry,
    610 So.2d 746 (La. 1992) ..................................................................................................................... 26

Thompson v. Bell,
   580 F.3d 423 (6th Cir. 2009) .......................................................................................................... 25, 26

United States v. Cooper,
   91 F. Supp. 2d 90 (D.D.C. 2000).......................................................................................................... 12

United States v. Dahl,
   807 F.3d 900 (8th Cir. 2015) ................................................................................................................ 16

United States v. Grape,
   549 F.3d 591 (3d Cir. 2008) ................................................................................................................. 16

United States. v. Nelson,
   419 F. Supp. 2d 891 (E.D. La. 2006) ......................................................................................... 9, 15, 17

                                                                          iv
              Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 6 of 44



United States v. Sanchez-Gomez,
   138 S. Ct. 1532 (2018) ........................................................................................................................... 7

Ward v. Hutchinson,
   558 S.W.3d 856 (Ark. 2018) ................................................................................................................ 19

Wood v. Quarterman,
   572 F. Supp. 2d 814 (W.D. Tex. 2008), aff’d sub nom. Wood v. Stephens, 619 F.
   App’x 304 (5th Cir. 2015) .................................................................................................................... 23

Young v. Dir., U.S. Bureau of Prisons,
   367 F.2d 331 (D.C. Cir. 1966).............................................................................................................. 35

Ziglar v. Abbasi,
    137 S. Ct. 1843 (2017) ......................................................................................................................... 18

Zimmerman v. Tribble,
   226 F.3d 568 (7th Cir 2000) ................................................................................................................. 32

Statutes

18 U.S.C. § 3596(c) ................................................................................................................................ 8, 18

28 U.S.C. § 1391(e) .................................................................................................................................... 34

28 U.S.C. § 2201(1) .................................................................................................................................... 20

28 U.S.C. § 2202 ......................................................................................................................................... 20

28 U.S.C. § 1391(e) .................................................................................................................................... 34

Ala. Code § 15-16-23 .................................................................................................................................. 33

Ark. Code Ann. § 16-90-506(d)(1)(b)(i) ..................................................................................................... 34

Colo. Rev. Stat. § 18-1.3 ............................................................................................................................. 33

Colo. Rev. Stat. § 18-1.4 ............................................................................................................................. 33

Fla. Stat. Ann. § 922.07 .............................................................................................................................. 34

Ky. Rev. Stat. Ann. § 431.213(2) ............................................................................................................... 34

Miss. Code Ann. § 99-19-57(2) .................................................................................................................. 33

Mo. Rev. Stat. § 552.060(1) ........................................................................................................................ 33

N.C. Gen. Stat. Ann. § 15A-1001(a) ........................................................................................................... 33

Neb. Rev. Stat. Ann. § 29-2537 .................................................................................................................. 33

Ohio Rev. Code. Ann. § 2949.28 ................................................................................................................ 33

                                                                             v
              Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 7 of 44



Ohio Rev. Code. Ann. § 2949.29 ................................................................................................................ 33

Utah Code Ann. § 77-15-2 .......................................................................................................................... 33

Other Authorities

ABA Task Force on Mental Disability & the Death Penalty, Recommendation and Report
  on the Death Penalty and Persons with Mental Disabilities, 30 Mental & Physical
  Disability L. Rep. 668 (2006) ............................................................................................................... 33

Black’s Law Dictionary (11th ed. 2019) ..................................................................................................... 15

Fed. R. Civ. P. 8(a) ................................................................................................................................... 2, 6

Fed. R. Civ. P. 12(b)(1)................................................................................................................................. 6

Fed. R. Civ. P. 12(b)(6)................................................................................................................. 2, 6, 20, 21

John Blume et al., Killing the Obvious: An Empirical Study of Competency to Be
   Executed Litigation, 82 UMKC L. Rev. 335 (2014) ............................................................................ 26

U.S. Const. amend. V.......................................................................................................................... 4, 8, 17

U.S. Const. amend VIII........................................................................................................................ passim




                                                                             vi
         Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 8 of 44




                                         INTRODUCTION

        Plaintiff Wesley Purkey, as a practical matter, is facing the imminent enforcement of a

federal death sentence, and nothing Defendants have said or done indicates or suggests

otherwise. Despite that posture, Defendants assert in their Motion to Dismiss that Mr. Purkey’s

claims in the instant action are not ripe for consideration by this Court. Defendants make that

assertion, moreover, while the government presses vigorously in separate related litigation before

this Court 2 to clear the legal path to Mr. Purkey’s execution at the earliest possible date. This

logical inconsistency cannot withstand scrutiny and precludes the dismissal of Mr. Purkey’s

pursuit of his constitutionally-guaranteed right to have the question of his mental competency

adjudged in advance of his execution pursuant to Ford v. Wainwright, 477 U.S. 399 (1986), and

its progeny.

        In their motion, Defendants mischaracterize the nature and legal sufficiency of Mr.

Purkey’s claims, asserting that this action is not the appropriate vehicle to raise such legal

challenges or, alternatively, has not been filed in the proper venue. For many of the same reasons

set forth in Plaintiff’s prior briefing on the jurisdictional question, this Court has jurisdiction to

hear Mr. Purkey’s claims and neither dismissal nor transfer of venue would be proper under the

circumstances.

        Briefly summarized, the grounds for denying Defendants’ motion include the following:

        First, Mr. Purkey’s Ford claims are ripe and not moot because, at minimum, there is a

live controversy related to the complete lack of federal Ford claim procedures. In addition, Mr.

Purkey’s Ford competency claim is ripe because his execution is imminent given Defendants’

instruction to government officials to initiate the execution of Mr. Purkey and several others, the


2
 See generally In re Fed. Bureau of Prisons’ Execution Protocol Cases, Case No. 19-mc-145 (TSC),
2019 WL 6691814, at *8 (D.D.C. Nov. 20, 2019).


                                                   1
         Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 9 of 44




previous issuance of an execution warrant, and the Defendants’ continuous and targeted efforts

to expedite litigation to proceed as quickly as possible to Mr. Purkey’s execution. While a

hearing on Mr. Purkey’s competency claim is not necessary or appropriate until Mr. Purkey is

provided constitutionally-sufficient due process and access to critical information withheld so far

by Defendants, the ripeness of Mr. Purkey’s claims is evident. Finally, even if the Court finds

that Mr. Purkey’s Ford claims are moot, the situation falls squarely within an exception to the

mootness doctrine where a controversy is capable of repetition yet evades review.

       Second, Mr. Purkey’s federal Ford claims are not limited to habeas because Mr. Purkey

does not challenge in this action the validity of his conviction or sentence. Mr. Purkey only asks

this Court to enjoin his execution during his period of incompetency and competency may be

restored, a concept Defendants do not contest. Moreover, the habeas statute itself does not

implicitly or explicitly preempt or limit Ford claims to habeas proceedings, and Defendants fail

to cite authority mandating that habeas proceedings are the exclusive remedy for death row

prisoners’ federal Ford claims.

       Third, Mr. Purkey’s Complaint pleads more than sufficient facts to state a plausible claim

for relief, consistent with the standards under Rules 8(a) and 12(b)(6) of the Federal Rules of

Civil Procedure (“FRCP”). Defendants’ motion goes well beyond the proper scope of Rule

12(b)(6) and, instead of assuming the veracity of the Complaint’s well-pled facts, attempts to

dispute the veracity of the facts themselves. Moreover, Defendants’ merit-based arguments are

not only inappropriate at this stage, they demonstrate a misunderstanding of the legal and factual

issues applicable to competency claims under Ford and its progeny.

       Fourth, venue is proper in the District of Columbia (“D.C.”) because the named

Defendants, residents of D.C., are responsible for executing Mr. Purkey, directed the issuance of



                                                 2
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 10 of 44




an initial death warrant from D.C., will direct the issuance of any subsequent death warrants

from D.C., and are responsible from D.C. for failing to devise and implement constitutionally-

mandated Ford processes applicable to Mr. Purkey and others similarly situated. There can be no

credible dispute that Defendants are the critical actors and decision-makers relating to the

attempt to execute Mr. Purkey. Further, several key witnesses reside in close proximity to D.C.

        In light of the foregoing, and the arguments set forth below, Mr. Purkey respectfully

requests that this Court deny Defendants’ Motion to Dismiss, or in the Alternative, to Transfer,

and find that this Court has jurisdiction over Mr. Purkey’s claims, which have been sufficiently

pled, and that venue in D.C. is proper. 3

                                            BACKGROUND

        Mr. Wesley Purkey was convicted and sentenced to death in 2003. Compl. ¶ 13, ECF No.

1. Now, more than ten years later, Mr. Purkey is 68 years old and suffers from Alzheimer’s

disease and schizophrenia, has a history of extensive traumatic brain injuries, has suffered

multiple severe traumatic events, and has significant memory impairments, grossly deteriorated

cognitive function, paranoia, and delusions. Id. ¶ 1. 4 All of these factors have contributed to Mr.

Purkey’s current cognitive and psychological incompetence, a state which leaves him, at least for

the time being, incapable of being executed consistent with core constitutional principles.

        On July 25, 2019, Defendants directed the scheduling of Mr. Purkey’s execution for

December 13, 2019. Id. On October 25, 2019, Mr. Purkey joined other federal prisoners in filing

a complaint in this Court challenging the constitutionality of the method of execution protocol.


3
  In the event the Court deems any aspect of Mr. Purkey’s Complaint insufficient, Mr. Purkey requests
leave to amend the Complaint to remedy any insufficiencies. Any dismissal should be without prejudice
and with leave to amend and refile in this Court at a later date.
4
  Detailed facts relating to Mr. Purkey’s medical and mental health history and his current incompetency
are set out in the Complaint and the Memorandum in Support of the Motion for a Preliminary Injunction.
Compl. ¶¶ 14, 20–108, ECF No. 1; Pl.’s Mem. in Supp. of Mot. for a Prelim. Inj. 5–8, ECF No. 7-1.

                                                   3
         Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 11 of 44




See In re Fed. Bureau of Prisons’ Execution Protocol Cases, Case No. 19-mc-145 (TSC), 2019

WL 6691814, at *8 (D.D.C. Nov. 20, 2019). On November 20, 2019, this Court preliminarily

enjoined Mr. Purkey’s execution, as well as the executions of the other federal prisoners. See id.

The Court’s order is currently on appeal before the United States Court of Appeals for the

District of Columbia (D.C. Circuit). See In re Fed. Bureau of Prisons’ Execution Protocol Cases,

No. 19-5322 (D.C. Cir. Nov. 22, 2019).

        On November 26, 2019, Mr. Purkey filed this action raising two constitutional claims: (1)

his execution during his current state of incompetency will violate the Eighth Amendment’s bar

against cruel and unusual punishment; and (2) Defendants’ attempt to execute Mr. Purkey

without allowing him the due process required under Ford v. Wainwright, 477 U.S. 399 (1986),

and its progeny, violates his due process rights under the Fifth and Eighth Amendments. Compl.

Part VI, ECF No. 1. The Complaint neither challenges Mr. Purkey’s conviction nor does it seek

to alter his sentence. Id. ¶ 5.

        Mr. Purkey’s execution was not carried out on the original warrant date because of this

Court’s aforementioned order in the related execution protocol case. 5 The government

vigorously opposed the imposition of a stay in that case and actively pursued a reversal of this

Court’s order, appealing the decision all the way to the U.S. Supreme Court. Barr v. Roane, 140

S. Ct. 353 (2019) (Mem. Op.).

        While Defendants have been pressing to clear the legal path to execute Mr. Purkey, Mr.

Purkey has sought tirelessly to obtain information in Defendants’ sole possession relevant to his

competency so that any future action to be taken by or at the direction of Defendants to carry out



5
 Mr. Purkey named the method of execution case as a related case in this litigation in his “Notice of
Designation.” Notice of Designation of Related Civil Cases Pending in This or Any Other U.S. Court,
ECF No. 3.

                                                    4
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 12 of 44




his sentence of death can, at the very least, be done in a manner consistent with the Constitution.

Mr. Purkey’s efforts include seeking his prison medical, mental health, and administrative

records, as well as surveillance video from his cell, critical brain imaging, and other medical

assessments, all of which would provide evidence relating to his current mental state and

functioning. Compl. ¶¶ 14, 17, 19, 25 n.1; Pl.’s Mem. in Supp. of Mot. for a Prelim. Inj. 8–11,

22–23, ECF No. 7-1. Defendants have not provided the relevant information or granted access to

conduct the recommended brain imaging and continue to stonewall Mr. Purkey regarding the

information he needs in order to demonstrate his current incompetency. Moreover,

notwithstanding their intentions and previous attempt to execute Mr. Purkey, Defendants have

never had in the past, nor do they have today, any process or procedure in place to ensure federal

death row prisoners have access to sufficient due process to pursue Ford claims and ensure that

incompetent prisoners are not executed in violation of their constitutional rights.

       On December 4, 2019, Mr. Purkey protectively filed a motion in this case to preliminarily

enjoin his execution despite the stay issued in the protocol litigation. Prelim. Inj. Mot., ECF No.

7. The motion was filed out of an abundance of caution given Mr. Purkey’s looming execution

date and the potential that the appeals process in the protocol litigation could quickly result in the

stay being lifted before the original death warrant expired. See id. at 2. Once the initial execution

date passed and the warrant expired, Mr. Purkey voluntarily withdrew the preliminary injunction

motion. Pl.’s Mot. to Withdraw, ECF No. 11. The Court then ordered further briefing related to

this Court’s jurisdiction over Mr. Purkey’s Ford claims. Minute Order (Dec. 31, 2019). The

jurisdictional question was fully briefed by both parties. Prelim. Inj. Mot., ECF No. 7; Defs.’

Opp. to Prelim. Inj. Mot. 1–2, 9–12, ECF No. 10; Pl.’s Resp. to Order of the Court, ECF No. 14;

Defs.’ Resp. to Order of the Court, ECF No. 15; Pl.’s Reply to Resp. to Order of the Court, ECF



                                                  5
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 13 of 44




No. 17. The Defendants’ current Motion to Dismiss, or in the Alternative, to Transfer raises

many of the same issues that have been briefed previously. For all the reasons asserted by Mr.

Purkey in prior briefing, and set forth herein, this Court has jurisdiction to hear Mr. Purkey’s

claims and there is no sound basis upon which to dismiss the Complaint or transfer this action to

another venue.

                                       LEGAL STANDARDS

        Defendants file their motion under FRCP 12(b)(1) and 12(b)(6). When reviewing a

motion to dismiss for lack of jurisdiction under Rule 12(b)(1), a court must accept all factual

allegations as true and “construe the complaint liberally, granting plaintiff the benefit of all

inferences that can be drawn from the facts alleged.” Moghaddam v. Pompeo, Civil Action No.

19-668 (CKK), 2020 WL 364839, at *3 (D.D.C. Jan. 22, 2020). “In determining whether there is

jurisdiction, the Court may consider the complaint supplemented by undisputed facts evidenced

in the record, or the complaint supplemented by undisputed facts plus the court’s resolution of

disputed facts.” Id. (internal quotation marks omitted).

        Under Rules 8(a) and 12(b)(6) “a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’ A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “[A]t the Rule

12(b)(6) stage, a court can review documents attached as exhibits or incorporated by reference in

the complaint or documents upon which the plaintiff’s complaint necessarily relies.” Guo

Wengui v. Clark Hill, PLC, Civil Action No. 19-3195 (JEB), 2020 WL 837166, at *3 (D.D.C.

Feb. 20, 2020) (internal quotation marks omitted).



                                                   6
           Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 14 of 44




                                           ARGUMENT

      I.        Mr. Purkey’s Ford claims are ripe for review and this court has jurisdiction.

        Defendants argue that this Court lacks subject matter jurisdiction over Mr. Purkey’s Ford

claims because the previous execution warrant expired. Defs.’ Mot. to Dismiss 10–12, ECF No.

18. Yet, Defendants do not disclaim their continuing intent or ongoing efforts to execute Mr.

Purkey and there is every reason to believe that Defendants will issue a new warrant and

endeavor to execute Mr. Purkey at the earliest opportunity. Moreover, in seeking dismissal of

this case, Defendants ignore both Mr. Purkey’s constitutional claims for procedural due process

under Ford and the practical imminence of Mr. Purkey’s pending execution. Mr. Purkey’s claim

for procedural due process, based on an utter lack of any federal Ford process, is a live dispute

with real impact on Mr. Purkey and Mr. Purkey’s execution is imminent despite the expired

warrant.

                A.     Mr. Purkey’s Ford due process claim is ripe for review.

        “To invoke federal jurisdiction, a plaintiff must show a ‘personal stake’ in the outcome of

the action. This requirement ensures that the Federal Judiciary confines itself to its

constitutionally limited role of adjudicating actual and concrete disputes, the resolutions of

which have direct consequences on the parties involved.” United States v. Sanchez-Gomez, 138

S. Ct. 1532, 1537 (2018) (citation omitted). Mr. Purkey’s Ford claim for due process required to

demonstrate his current incompetency is ripe because Mr. Purkey has a “personal stake” in his

access to process, there is a concrete dispute, and the resolution of this dispute will have direct

consequences on whether Mr. Purkey lives or dies.

       Mr. Purkey’s Complaint alleges not only that his execution while incompetent violates

the Eighth Amendment, but also that Defendants’ failure to provide him with adequate

mechanisms—or more to the point any procedure whatsoever—to gather, assess, and present

                                                  7
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 15 of 44




information relevant to his current competency has deprived Mr. Purkey of his right to due

process under the Fifth and Eighth Amendments and as required by Ford v. Wainwright. Compl.

55–56 (Count II), ECF No. 1. Defendants have denied Mr. Purkey access to critical expert

testing and highly probative materials, including video footage of his behavior in his cell, and

even his own medical records. See Compl. ¶¶ 14, 17, 19, 25 n.1, ECF No. 1. Given Mr. Purkey’s

inability to obtain highly probative information in Defendants’ exclusive control that he would

use to establish his mental state, a competency hearing at this point in time would be incomplete

and inadequate. See Ford, 477 U.S. at 414 (“consistent with the heightened concern for fairness

and accuracy that has characterized our review of the process requisite to the taking of a human

life, we believe that any procedure that precludes the prisoner or his counsel from presenting

material relevant to his sanity or bars consideration of that material by the factfinder is

necessarily inadequate.”) (emphasis added).

       In this case, there is no federal process at all to allow adequate review of Mr. Purkey’s

Ford competency claim. Notably, Defendants have not even attempted to argue otherwise. There

are no federal procedures or regulations to facilitate access to necessary information by federal

prisoners for investigating and litigating Ford claims. Cf. Ex parte Jordan, 758 S.W.2d 250,

252–53 (Tex. Crim. App. 1988) (en banc) (highest Texas criminal court noting that Texas had an

“alarming lack of any Texas statute specifying the procedures to be followed in raising and

determining a defendant’s execution competency,” in contrast to the vast majority of states, and

inviting the legislature to adopt standards); Commonwealth v. Banks, 943 A.2d 230, 234 n.7 (Pa.

2007) (there “is not currently in place a specific procedure for the timely handling of Ford v.

Wainwright claims”). The only relevant federal statute is 18 U.S.C. § 3596(c), which states in

full that “[a] sentence of death shall not be carried out upon a person who, as a result of mental



                                                  8
            Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 16 of 44




disability, lacks the mental capacity to understand the death penalty and why it was imposed on

that person.” The statute “provides no guidance on how [the statute] should be implemented” and

there are no implementing regulations. United States. v. Nelson, 419 F. Supp. 2d 891, 892 (E.D.

La. 2006).

        This complete lack of process is, for obvious reasons, of the utmost significance to Mr.

Purkey because it has and will continue to interfere with his ability to gather information relevant

to demonstrate to this Court that he is not competent to be executed. This process deficiency is

evident from Mr. Purkey’s unsuccessful requests prior to his initial execution date for material of

critical relevance to his competency including brain imaging recommended by Dr. Bhushan

Agharkar that may provide further explanation for Mr. Purkey’s incompetence. Compl. Ex. 1 at

6, ECF No. 1-1.

        Because there are no existing federal procedures for Mr. Purkey to obtain his own

medical and mental health records in a timely fashion, were it not for a stay granted in related

litigation, Mr. Purkey may have been executed before his counsel had the opportunity to receive,

let alone review and present, information, materials, and other evidence highly probative of his

claim that he cannot be constitutionally executed given his current incompetence. Id. at 7. During

the pendency of the initial warrant, a period of approximately four and a half months, counsel

repeatedly requested Mr. Purkey’s medical and behavioral records from the U.S. Bureau of

Prisons (“BOP”) but was informed that the requested material would not be provided for six

months—well after Mr. Purkey’s scheduled execution. Compl. ¶¶ 14–19. Although Mr. Purkey’s

initial execution date has come and gone, he still has yet to receive any of the requested material.

Id. ¶ 19.




                                                 9
         Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 17 of 44




         Defendants’ accusation that Mr. Purkey’s Ford claims represent “a litigation tactic[]

designed to delay” plainly mischaracterizes the facts and the record. Mr. Purkey has been

diligently seeking material relevant to his competency to pursue his Ford claims since they first

became ripe—when the initial execution warrant was issued. He has not stopped pursuing this

information despite the expired warrant and, in turn, Defendants have not relented in refusing to

accord Mr. Purkey any process whatsoever. Should Mr. Purkey be issued another warrant, the

BOP protocol appears to afford him just 20 days’ notice before his execution. BOP Execution

Protocol (Redacted) Chapter 1, Section II(C), Roane v. Gonzalez, Civ. Action No. 05-2337

(RWR/DAR) (D.D.C. July 22, 2008), ECF No. 179-3. This is “an unrealistic time-frame” to

allow counsel to obtain the information it needs to prepare a competency hearing, this court to

conduct it, and an appellate court to review it “under the best of circumstances, and even if an

established procedure had been in place.” Commonwealth v. Banks, 29 A.3d 1129, 1134 (Pa.

2011).

         Mr. Purkey’s Ford claim for adequate due process to pursue his Ford competency claim

is unquestionably ripe because there is an actual dispute that has a direct impact on Mr. Purkey

and should not be dismissed.

                B.      Mr. Purkey’s execution is imminent and, accordingly, his Ford claim
                        that he is currently incompetent to be executed is also ripe.

         Mr. Purkey’s competency claim itself is also ripe, at least for purposes of preparing for a

Ford competency hearing following the adoption and implementation of a constitutionally-

compliant process, as well as opportunity to conduct appropriate and procedurally-standard

discovery. Defendants argue that a Ford claim is only ripe when there is an unexpired warrant in

place. But case law establishes that a Ford competency claim is ripe when the prisoner’s

execution is close in time or impending, which includes scenarios with expired warrants. See


                                                  10
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 18 of 44




e.g., Billiot v. Epps, No. CIV.A. S86-0549(L), 2005 WL 2877731, at *1 (S.D. Miss. Oct. 28,

2005) (denying the government’s motion to dismiss a prisoner’s Ford claim as unripe where the

execution date had expired but a state statute required a new warrant be issued within 30 days

after the court’s stay of execution was lifted).

       Here, Mr. Purkey’s initial execution warrant has indeed expired. Mr. Purkey’s pending

execution is not, however, speculative and is readily distinguishable from the more clear-cut

Ford ripeness cases where no execution date had ever been set. Cf. Holmes v. Neal, 816 F.3d

949, 954 (7th Cir. 2016) (Ford incompetency hearing is not ripe where “the state has yet to set an

execution date, which must precede the hearing.”); Isom v. State, 462 S.W.3d 638, 650 (Ark.

2015) (execution date had not been set); Connor v. Sec’y, Fla. Dep’t of Corr., 713 F.3d 609, 625

(11th Cir. 2013) (execution date had not been set). In this case, Mr. Purkey’s execution is

anything but speculative. To wit, Defendants have not only previously issued an execution

warrant but have actively pursued expedited litigation to clear the legal path for Mr. Purkey’s

execution by appealing this Court’s stay in the related protocol case all the way to the U.S.

Supreme Court. The U.S. Supreme Court remanded the decision to the D.C. Circuit and that

decision is expected imminently. Defendants have given every indication, both in their litigation

decisions and their media statements, that if the D.C. Circuit opinion is favorable to Defendants

we should expect to see a new warrant for Mr. Purkey’s execution almost immediately. Nothing

in their motion disclaims such intent or anticipated action. It follows, therefore, that if this Court

dismisses Mr. Purkey’s Complaint without prejudice because there is, at the moment, no

unexpired warrant, then Mr. Purkey will be forced to immediately refile this Complaint in the

event a new warrant is issued in the coming weeks or months. Given the live controversy,




                                                   11
          Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 19 of 44




particularly with respect to the complete lack of process, there is no reason to waste the Court’s

and the parties’ time by refiling redundant complaints.

          Mr. Purkey’s execution is therefore close in time, impending, and imminent for practical

purposes. Defendants are correct that a hearing on Mr. Purkey’s current mental state would be

premature before a new warrant is issued. But unless the Defendants can offer assurances that

another warrant is not forthcoming (which they have had an opportunity to do but noticeably

have not), Mr. Purkey’s case presents a live case and controversy. This Court can and should

make substantive rulings about the process due to Mr. Purkey, grant Mr. Purkey discovery, and

based on that supplemented record, find that Mr. Purkey is entitled to a Ford hearing before his

execution. The fact that an evidentiary Ford hearing will not be scheduled immediately to allow

for constitutionally-mandated due process, does not make the suit moot or render it premature or

unripe.

          Notably, Defendants should be precluded from arguing on the one hand that Mr. Purkey

is taking advantage of the system and delaying death penalty litigation unnecessarily while

simultaneously arguing, on the other hand, that such issues are unripe and must only be brought

at the last possible moment when a live death warrant is pending. That scenario—the exact

scenario that would occur in this case should the Court grant Defendants’ Motion to Dismiss—

creates chaos, inefficiency, and the potential for error. This potential for error is particularly

problematic in the death penalty context where there is a well-established need for heightened

reliability. See United States v. Cooper, 91 F. Supp. 2d 90, 107 (D.D.C. 2000) (acknowledging

“the heightened need for reliability in capital cases”); Ford v. Wainwright, 477 U.S. 399, 417

(1986) (“The stakes are high [in death penalty cases], and the ‘evidence’ will always be

imprecise. It is all the more important that the adversary presentation of relevant information be



                                                  12
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 20 of 44




as unrestricted as possible.”). Mr. Purkey’s Ford claims are ripe because Mr. Purkey’s execution

is in fact imminent. Nevertheless, a Ford competency hearing should not be held until Mr.

Purkey has been provided constitutionally adequate due process and procedurally appropriate

expert and fact discovery.

                C.      At a minimum, Mr. Purkey’s Ford claims fall under an exception to
                        the mootness doctrine because it is capable of repetition yet evading
                        review.

        In the alternative, even if the Court were to conclude that Mr. Purkey’s Ford claims are

currently moot due to the absence of a live execution warrant, the claim falls within the well-

established exception to the mootness doctrine for those cases “capable of repetition yet evading

review.” The exception only applies “where (1) ‘the challenged action [is] in its duration too

short to be fully litigated prior to cessation or expiration,’ and (2) ‘there [is] a reasonable

expectation that the same complaining party [will] be subject to the same action again.’”

Kingdomware Techs., Inc. v. United States, 136 S. Ct. 1969, 1976 (2016) (citations omitted).

Given the unusual circumstances, and challenging timing considerations, that accompany the

adjudication of Ford competency claims, the applicability of this exception has been noted by

other courts. See Kemp v. Cockrell, No. 4:99-CV-490-Y, 2003 WL 21448584, at *11 n.21 (N.D.

Tex. Mar. 25, 2003) (dismissing a Ford competency claim where the prisoner conceded that an

expired warrant resulted in an unripe claim but opining that “the exception to the mootness

doctrine for cases that are capable of repetition, yet evading review . . . could have applied . . . .”)

(citing Spencer v. Kemna, 523 U.S. 1, 17 (1998)).

        The scenario discussed in Kemp is precisely the one before the Court here. The short

window, potentially only 20 days, that will accompany a new death warrant is plainly

insufficient to allow Mr. Purkey the necessary time to gather information and conduct associated

discovery and present his Ford competency claim to this Court at a Ford hearing. Should Mr.

                                                  13
           Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 21 of 44




Purkey’s case be dismissed now, the issuance of a new warrant will, undoubtedly, cause another

race to the courthouse and a last-minute scramble, of Defendants’ making, to obtain the

necessary information and constitutionally-required due process to adjudicate this essential issue.

By maintaining the case and allowing Mr. Purkey the proper time to extract the necessary

information from Defendants via the discovery process—information the government has chosen

to withhold from Mr. Purkey at their own discretion and pursuant to their own policies despite

numerous requests for disclosure—that scenario, one with the gravest of consequences for Mr.

Purkey, can be avoided.

     II.        Mr. Purkey’s Ford claims are not “core habeas” and are properly before this
                Court.

       As the Court is aware from the extensive briefing on the jurisdictional question,

Defendants again argue that Mr. Purkey’s Ford claims may only be brought in habeas. Mr.

Purkey can bring his claims outside of habeas because: (1) the relief he seeks does not challenge

his conviction or sentence or bar his execution, and (2) his constitutional claims are not

preempted by the habeas statute. Mr. Purkey asks this Court to ensure that the manner in which

he is executed is constitutional, meaning that he is only executed when competent to understand

the reason for his execution and that he is given the appropriate process and information to

demonstrate that he is currently incompetent.

                A.     The relief Mr. Purkey seeks is not limited to habeas because it does
                       not challenge his conviction or sentence and would not “necessarily
                       bar” his execution.

       Defendants again argue that Mr. Purkey’s Ford claims will “necessarily bar” his

execution because he “asks this Court to stop the Defendants from executing him” and his claims

therefore must be brought in habeas. Mot. to Dismiss 14–16, ECF No. 18. Where a prisoner

seeks injunctive relief that “would not necessarily bar the inmate’s execution,” the challenge is


                                                 14
         Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 22 of 44




not limited to habeas because the challenge does not seek to establish “unlawfulness [that] would

render a conviction or sentence invalid.” Hill v. McDonough, 547 U.S. 573, 574 (2006) (citations

omitted); Nelson v. Campbell, 541 U.S. 637, 643–44 (2004) (citations omitted) (allowing a

challenge to the method of execution outside of habeas because it did “not directly call into

question the ‘fact’ or ‘validity’ of the sentence itself.”). This is true even if the challenge would

“frustrate an execution as a practical matter.” Hill, 547 U.S. at 574 (explicitly rejecting an amici

argument that any “challenge that would frustrate an execution as a practical matter must

proceed in habeas.”). 6

        Defendants frame Mr. Purkey’s Complaint as challenging “the Government’s ability to

execute him at all.” Mot. to Dismiss 16, ECF No. 18. This is simply untrue. Mr. Purkey asks this

Court to enjoin his execution during his current period of incompetency. Compl. Part VII, ECF

No. 1. The relief sought would not necessarily or inevitably prevent the Government from

carrying out Mr. Purkey’s execution. See Ford, 477 U.S. at 425 (Powell, J., concurring in part

and concurring in the judgment) (emphasis in original) (“[T]he only question raised is not

whether, but when, his execution may take place.”); Necessary, Black’s Law Dictionary (11thed.

2019) (defining “necessary” as “[t]hat must exist or happen and cannot be avoided; inevitable.”).

        This is so because it is a well-settled principle that competency is not inherently static

and may be restored—a concept that Defendants continue to ignore and refuse to disclaim

despite the fact that the government is a vocal advocate of that principle in other litigation. See

Indiana v. Edwards, 554 U.S. 164, 175 (2008) (“[Competency] varies in degree. [Competency]


6
  Defendants argue that Mr. Purkey has “applied the wrong test” in previous jurisdictional briefing
ordered by this Court. Mot. to Dismiss 16–18, ECF No. 18. But, Defendants loses sight of the forest for
the trees. While the idea of reducing the “duration” of one’s sentence is inapplicable to capital
punishment, both Nelson and Hill acknowledge that asking what would “necessarily bar [one’s]
execution” is essentially asking whether the relief goes to the fact or validity of a conviction or sentence.
See Hill, 547 U.S. at 583; Nelson, 541 U.S. at 643.

                                                      15
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 23 of 44




can vary over time. [Competency] interferes with an individual’s functioning at different times in

different ways.”); Davis v. Kelley, 854 F.3d 967, 971 (8th Cir. 2017) (“competency can be lost or

regained over time” in the context of Ford); United States v. Dahl, 807 F.3d 900, 904 (8th Cir.

2015) (“[C]ompetency is not static and may change over even a short period of time[.]” (internal

quotation marks omitted)); United States v. Grape, 549 F.3d 591, 597–98 (3d Cir. 2008) (stating

that the government could restore competency by medicating currently incompetent defendant

who became mentally ill in prison); Singleton v. Norris, 319 F.3d 1018, 1026 (8th Cir. 2003)

(upholding the State’s forced medication of a prisoner to restore him to competency);

Commonwealth v. Sam, 952 A.2d 565, 582 (Pa. 2008) (allowing involuntary medical

intervention to restore an inmate to competency); Pl.’s Reply to Defs.’ Resp. to Mr. Purkey’s Br.

Filed Pursuant to this Court’s Order of Dec. 31, 2019 at 3 n.1, ECF No. 17 (“Nearly all death

penalty jurisdictions that have implemented procedures that govern Ford claims include

provisions for restoring competency.”).

       Defendants’ notable failure or refusal to disclaim the possibility that Mr. Purkey’s

competency may be restored serves to leave the door open for Defendants to restore him to

competency if his Ford claim is successful and his execution is enjoined during his period of

incompetency. Defendants’ resistance to disclaim this possibility demonstrates the ultimate point

that Defendants ignore—Mr. Purkey is currently incompetent; executing him during that

incompetency is unconstitutional; his competency might be restorable; and if it is restored, both

Mr. Purkey’s conviction and sentence will remain unchallenged by claims asserted in this

Complaint. Mr. Purkey’s Ford claims therefore will not “necessarily bar” his execution because

any bar, such as it is, will be limited solely to his period of incompetency. 7 In any event,


7
 Defendants argue that the “necessarily bar” test for core habeas death penalty challenges include a
“temporal consideration.” Mot. to Dismiss 17–18, ECF No. 18. They argue that Hill and Nelson imply

                                                  16
         Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 24 of 44




Defendants do not address how Mr. Purkey’s due process claim under the Fifth and Eighth

Amendments would “necessarily bar his execution.” Compl. ¶¶ 116–21, ECF No. 1. Pursuant to

that claim, Mr. Purkey merely seeks fair process including preventing Defendants from

continuing to withhold information and medical tests indispensable to his Ford competency

claim. See id. As with his Ford competency claim itself, Mr. Purkey’s Ford due process claim

seeks only to prevent Defendants from executing him in a manner that violates the Constitution,

not to invalidate or alter his sentence or conviction.

                B.      The habeas statute does not preempt a constitutional claim for
                        equitable relief.

        Defendants argue that private rights of action may be preempted by statute and thus

individual equitable Ford claims must necessarily be preempted by the habeas statute. Mot. to

Dismiss 13–14, ECF No. 18 (citing Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327

(2015), and Seminole Tribe of Fla. v. Florida, 517 U.S. 44, 74 (1996)). However, the habeas

statute, by its terms, does not explicitly or implicitly preclude private constitutional causes of

action. Likewise, neither the federal habeas statute nor the federal death penalty statute dictates

any process for federal prisoners to bring Ford claims. See 18 U.S.C. § 3596(c); Banks, 29 A.3d

at 1134 (“Panetti does not direct the specific vehicle for pursuing such relief and the question

remains unanswered in Pennsylvania”). Defendants again fail to cite to any authority that

precludes an equitable Ford claim outside of habeas. Moreover, the cases Defendants cite are

inapposite. In Armstrong the Court rejected a private cause of action in equity where the




that a prisoner’s challenge must be brought in habeas if relief would foreclose the execution today versus
ever. Id. (citing Hill, 547 U.S. at 583; Nelson, 541 U.S. at 644). The argument is misleading and
inconsistent with the cases. In Hill, the Court emphasized the importance of whether the judgment would
permanently enjoin the execution. See Hill, 547 U.S. at 579 (“a constitutional challenge seeking to
permanently enjoin the use of lethal injection may amount to a challenge to the facts of the sentence
itself.”) (emphasis added) (quoting Nelson, 541 U.S. at 644)).

                                                    17
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 25 of 44




Medicaid statute specifically provided for agency enforcement. 575 U.S. at 328. Similarly, in

Seminole Tribe, the Court rejected an action against state officers in equity for violating state

gaming ordinances where the statute provided a detailed enforcement mechanism that limited the

available remedies available to tribes in actions against the state. Seminole Tribe, 517 U.S. at 74.

       Bivens actions are actually a closer fit to the case at hand. Under Bivens, a prisoner may

recover damages for constitutional violations by federal agents without any federal statute

conferring such right as long as a court finds that there are no “special factors counselling

hesitation in the absence of affirmative action by Congress” and that “Congress has [not]

provided an alternative remedy which it explicitly declared to be a substitute for recovery

directly under the Constitution and viewed as equally effective.” Carlson v. Green, 446 U.S. 14,

18–19 (1980) (seeking damages under the Eighth Amendment for inadequate prisoner medical

attention under Bivens). Bivens at least provides guidance to analyze substantive and procedural

Ford claims and related statutory preemption concerns although courts generally disfavor

expanding Bivens to new contexts. See Ziglar v. Abbasi, 137 S. Ct. 1843, 1856–57 (2017); cf.

Meshal v. Higgenbotham, 804 F.3d 417, 444 (D.C. Cir. 2015) (Pillard, J., dissenting) (“[T]he

Supreme Court has never hesitated to recognize the viability of a damages suit against federal

agents engaged in law enforcement activities or responsible for supervising prisoners.”).

       Defendants also argue that cases cited in Mr. Purkey’s jurisdictional briefing to this Court

do not provide specific examples of a federal Ford proceeding outside of habeas. Mot. to

Dismiss 18–19, ECF No. 18. The dearth of examples is not surprising, since only three federal

prisoners have been executed since Ford was decided and none have brought Ford claims. See

Pl.’s Reply to Defs.’ Resp. to Mr. Purkey’s Br. Filed Pursuant to this Court’s Order of Dec. 31,

2009 at 4–5, ECF No. 17. Nevertheless, Mr. Purkey has offered several cases to demonstrate that



                                                 18
         Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 26 of 44




analogous claims exist outside of habeas, including examples of Ford claims. See Ward v.

Hutchinson, 558 S.W.3d 856 (Ark. 2018) (a state prisoner sought declaratory and injunctive

relief in a civil rights action under 42 U.S.C. § 1983 challenging, in part, his competency to be

executed); Stanley v. Davis, No. 07-cv-4727, 2015 WL 435077, at *4 n.4, *5 (N.D. Cal. Feb. 2,

2015) 8 (“[T]he upshot of challenges to the method of execution is to prevent (or at least delay)

execution, [and therefore] it is difficult to discern a meaningful difference between a Ford

challenge and a methods challenge. . . .[which] may be brought under section 1983.”); Simmat v.

U.S. Bureau of Prisons, 413 F.3d 1225, 1227–28 (10th Cir. 2005) (involving a claim for

injunctive relief upheld outside of habeas (or any other statute) and stating that federal courts

have recognized Eighth Amendment claims by prisoners denied proper medical care, but “the

vehicle is not so clear.”); Hubbard v. Campbell, 379 F.3d 1245, 1247–48 (11th Cir. 2004)

(Barkett, J., dissenting) (holding that civil rights action is an appropriate vehicle to raise a Ford

claim because it does not challenge the fact or validity of the sentence, only the constitutionality

of the execution at a specific temporal point of incompetency, an issue not reached by the

majority); Pl.’s Reply to Defs. Resp. to Mr. Purkey’s Br. Filed Pursuant to this Court’s Order of

Dec. 31, 2009 at 4, ECF No. 17. Due to the unique circumstances of this case and recent federal

death penalty litigation, there is no perfect analogue, but the aforementioned cases should be

instructive.

        In all events, this Court should not be distracted by Defendants’ attempts to minimize the

number of ways in which federal courts have allowed prisoners to bring suits against federal

officers seeking relief for federal constitutional violations, like this one, including the fact that



8
 See also, Mot. to Declare Pet’r Incompetent to Proceed or, in the Alternative to Determine Pet’r’s
Competency, Stanley v. Martel, No. 3:14-cv-04727-EMC (N.D. Cal. Feb. 15, 2012), ECF No. 51
(pending civil rights action alleging a Ford violation).

                                                   19
           Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 27 of 44




Defendants ignore that Mr. Purkey also seeks declaratory relief under 28 U.S.C. §§ 2201(1) and

2202. 9

    III.         Mr. Purkey’s Complaint easily satisfies the pleading standard for showing
                 that he is incompetent to be executed and is entitled to process and an
                 evidentiary hearing.

          Defendants’ arguments that Mr. Purkey has insufficiently pled a claim of Ford

incompetence are a combination of misplaced factual disputes with Mr. Purkey’s allegations and

a misunderstanding of the law. Defendants mistakenly apply a heightened standard at this stage

of litigation arguing over issues of disputed facts instead of accepting the allegations in the

Complaint as true for purposes of a Rule 12(b)(6) motion. Under any standard, however, Mr.

Purkey’s Complaint includes facts that are more than sufficient to entitle him to process under

Ford and a Ford competency hearing once he receives that process and related fact and expert

discovery.

                 A.     Defendants apply the wrong standard of review.

          Despite having claimed that the Complaint is not ripe enough to move forward,

Defendants also argue that the claim is so ripe that the Court can resolve the merits of Mr.

Purkey’s Ford claims on a motion to dismiss. In doing so, Defendants ignore the proper standard

for resolving a Rule 12(b)(6) motion to dismiss. “When there are well-pleaded factual

allegations, a court should assume their veracity and then determine whether they plausibly give

rise to an entitlement to relief.” Ashcroft, 556 U.S. at 679.

          Defendants’ motion ignores the Court’s obligation to assume the veracity of the

Complaint’s well-pled factual allegations, of which there are many in this instance, and instead


9
  Defendants also argue that Mr. Purkey’s Complaint cannot be converted to habeas because it does not
name Mr. Purkey’s current custodians as defendants. Mot. to Dismiss at 19–20, ECF No. 18. In the event
the Court agrees that Mr. Purkey’s Ford claims must be brought under habeas and transferred to Indiana,
Mr. Purkey would seek leave to amend the Complaint to join any necessary defendants.

                                                  20
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 28 of 44




attempts to dispute certain alleged facts. Defendants, for example, dispute the Complaint’s

factual allegation regarding Mr. Purkey’s statement that “he accepted that he was going to be

executed for the murder of Jennifer Long” was an attempt to “fake good.” Mot. to Dismiss 22,

ECF No. 18 (quoting Compl. Ex. 1 at 11). The Complaint alleges that Mr. Purkey believes that

the “real reason” he is going to be executed is “because he is filing lawsuits for other people’s

cases.” Id. Defendants dispute Mr. Purkey’s beliefs and assert that Dr. Agharkar “either

misunderstood or misconstrued [Mr.] Purkey’s statements . . . .” Id. These are factual disputes

and not appropriate at this stage in the litigation. Ashcroft, 556 U.S. at 678. The Complaint’s

allegations of fact that Mr. Purkey does not understand the actual reason for his execution—and

any statements made otherwise are simply parroting what he is supposed to say—must be

assumed to be true for purposes of this motion. Defendants’ Motion to Dismiss for failure to

state a claim because Mr. Purkey has allegedly not “plausibly alleged he is incompetent,” and its

entire line of reasoning in support, should be dismissed as it attempts to convert a Rule 12(b)(6)

motion to a summary judgment motion, before allowing Mr. Purkey to seek discovery, gain

access to material information relevant to his current competency, and have a hearing on the

ultimate issue of his competency before this Court.

               B.      Mr. Purkey has stated a sufficient claim of incompetency under any
                       standard.

       Defendants mistakenly contend that Mr. Purkey’s Complaint does not sufficiently allege

that he is incompetent to be executed by arguing that Dr. Agharkar’s expert report is facially

deficient, a conclusion Defendants reach only by contesting the factual findings of Dr. Agharkar.

Defendants further seek to undermine Mr. Purkey’s well-pled allegations by suggesting, contrary

to case law, that this Court should disregard Mr. Purkey’s history of mental illness and the full

context of his Ford claim.


                                                 21
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 29 of 44




                      i.        Defendants’ attack on the quality and variety of sources
                                corroborating Mr. Purkey’s allegations of incompetence is
                                inconsistent with the case law and well beyond the scope of
                                review on a motion to dismiss.

        Plaintiff’s Complaint repeatedly alleges that Mr. Purkey lacks a rational understanding of

the purpose of his execution, describing in extensive detail the evidence of Mr. Purkey’s

delusional statements about his execution, as well as the context of his history of mental illness

and schizophrenia, brain injuries, paranoia and cognitive decline. See e.g., Compl. ¶ 1, ECF No.

1 (“As a result of his brain injuries, severe mental illness and advancing disease, Mr. Purkey has

significant memory impairments, grossly deteriorated cognitive function, paranoia, and delusions

that render him unable to rationally understand the reason the United States seeks to execute

him.”); id. ¶ 29 (describing Mr. Purkey’s delusional belief that the “real reason” for his execution

is retaliation for filing lawsuits); id. ¶¶ 109–11 (as a result of his declining mental state,

including paranoia and delusions, “Mr. Purkey currently does not rationally understand the basis

for his executions”). These allegations are supported by the expert opinion of Dr. Agharkar, as

well as available medical records, writings, and grievances filed by Mr. Purkey, and other

medical expert evaluations. See generally, id. ¶¶ 20–104. Defendants nonetheless suggest that

this Court can dismiss Mr. Purkey’s claim without any additional process. Mot. to Dismiss at 2–

3, ECF No. 18. They make this sweeping claim by arguing that Dr. Agharkar’s report is

“fundamentally flawed on its face” and that none of the evidence pled by Mr. Purkey rises to the

level of showing he is entitled to a hearing or process on his claim of incompetency. Id. at 22.

Defendants are wrong on both counts.

        Defendants’ first mistake is to attempt to parse separately the sources of evidence related

to Mr. Purkey’s incompetence and ask whether a single category of evidence individually

demonstrates that Mr. Purkey is incompetent under the Ford standard. See e.g., id. at 21–28


                                                   22
         Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 30 of 44




(arguing separately that Mr. Purkey’s Ford claim fails by addressing in isolation first Dr.

Agharkar’s expert report, then Mr. Purkey’s history of mental illness, then Mr. Purkey’s filing of

grievances and pro se litigation, then Mr. Purkey’s dementia and Alzheimer’s Disease, and

finally Mr. Purkey’s difficulty communicating with counsel). Defendants’ approach upends the

legal standard for a Ford claim, which asks whether holistically a prisoner has made “a

substantial threshold showing” of incompetency, which in turn, triggers due process protections.

See Panetti v. Quarterman, 551 U.S. 930, 950 (2007) (quoting Ford, 477 U.S. at 426 (Powell, J.,

concurring)); see also, Amaya-Ruiz v. Steward, 136 F. Supp. 2d 1014, 1018 (D. Ariz. 2001)

(describing state court competency determination triggered by a single doctor report alleging that

the prisoner has Schizophrenia, along with bizarre behaviors and limited cognitive ability); Wood

v. Quarterman, 572 F. Supp. 2d 814, 819 (W.D. Tex. 2008) (holding petitioner was entitled to a

Ford hearing based on his record of suicides, prior mental health problems, paranoia, and

delusional statements to counsel), aff’d sub nom. Wood v. Stephens, 619 F. App’x 304 (5th Cir.

2015).

         In Panetti, the defense counsel sought a Ford hearing by filing a motion for declaration

of incompetency along with a declaration from a law professor and a single mental health expert,

who had also interviewed the petitioner. Panetti, 551 U.S. at 938. The psychologist concluded

that Mr. Panetti experienced delusions that caused him to misunderstand why he would be

executed. Panetti v. Dretke, 401 F. Supp. 2d 702, 704 (W.D. Tex. 2004). The U.S. Supreme

Court concluded, like the lower courts and parties, that Mr. Panetti had made a “substantial

threshold showing” when he filed his motion. Panetti, 551 U.S. at 950. Panetti is also a direct

refutation to Defendants’ criticism that Mr. Purkey’s well-pled Complaint is somehow

insufficient because only one medical expert directly opined about his lack of competency.



                                                 23
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 31 of 44




Compare id. (finding a substantial showing based on a single expert report, combined with

allegations about the petitioner’s history), with Mot. to Dismiss 2, ECF No. 18 (“The only

allegations in Purkey’s Complaint that directly relate to his current competency to be executed

are those based upon the report of Dr. Bhushan Agharkar.”).

       Defendants’ attacks on the wealth of corroborating evidence Mr. Purkey pleads is also

contrary to the case law and the relevant legal standard at this stage of the case. Under

Defendants’ novel approach, the evidence of Mr. Purkey’s Alzheimer’s disease can be discarded

because the neuropsychologists who evaluated him did not render opinions about Mr. Purkey’s

competence to be executed, Mot. to Dismiss 27–28, ECF No. 18, and, similarly, Mr. Purkey’s

history of mental illness, trauma, and paranoid delusional thinking is irrelevant because standing

alone it “do[es] not establish that he is incapable of rationally understanding the reason for his

execution.” Id. at 25. But courts have repeatedly, and appropriately, weighed history of mental

illness and cognitive decline as highly relevant evidence supportive of a Ford incompetency

claim. See e.g., Panetti, 551 U.S. at 950 (citing petitioner’s “extensive evidence of mental

dysfunction considered in earlier legal proceedings” as part of the basis for his claim of

incompetence); Billot v. Epps, 671 F. Supp. 2d 840, 853–54 (S.D. Miss. 2009) (medical history

and prior diagnoses “while not dispositive” of the Ford issue “provided a context in which to

examine his claim of current incompetence” and were important evidence of whether the

“current manifestation of mental disorder is genuine”).

       In Thompson v. Bell, 580 F.3d 423, 436 (6th Cir. 2009) the Sixth Circuit addressed this

issue head on, rejecting a state court’s conclusion that prior mental health evidence was not

probative of current competency to be executed as an unreasonable application of Ford:

               Although the court was correct that only Thompson’s present
               competency was at issue, his medical records are relevant to that


                                                 24
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 32 of 44




               question, particularly to the extent that they demonstrate a chronic
               mental condition, or a condition that has only worsened over time.
               Thompson’s medical history demonstrates his ‘long history of
               bipolar disorder and psychic symptoms,’ and that he has been
               psychotic and delusional since at least 1989. While this history is
               not definitive proof of Thompson’s current incompetency for
               execution, it is at least probative of the seriousness of his illness
               and whether it is chronic.

Thompson, 580 F. 3d at 436.

       Defendants further miss the mark when they attempt to minimize the import of Mr.

Purkey’s dementia and Alzheimer’s disease. Mot. to Dismiss 27–28, ECF No. 18. They assert

that Mr. Purkey’s condition “bears little resemblance to that of the defendant in Madison v.

Alabama, who ‘suffered a series of strokes, including’ two major ones, ‘was diagnosed as having

vascular dementia, with attendant disorientation and confusion, cognitive impairment and

memory loss’ and ‘claim[ed] that he [could] no longer recollect committing the crime for which

he had been sentenced to die.’” Id. While it is true that Mr. Purkey has not (yet) lost entirely his

memory of the crime, there are more similarities between Mr. Purkey and Mr. Madison than

differences. Like Mr. Madison, Mr. Purkey has dementia with disorientation and confusion,

cognitive impairment and memory loss. See Compl. 23, 27–28, ECF No. 1. Dr. Agharkar

described new-onset asymmetry in Mr. Purkey’s face from his 2019 visit, suggesting that Mr.

Purkey may have had a recent stroke. Id. at 25. 10

       Defendants are equally wrong when they conflate the prior finding that Mr. Purkey was

competent to stand trial with the current allegation that he is incompetent to be executed. See

Mot. to Dismiss 25, ECF No. 18 (arguing against the probative value of Mr. Purkey’s mental

health history because it “did not prevent him from being found competent to be tried for his


 Because Defendants have not provided the requested medical records, it cannot yet be determined,
10

much less pled, whether Mr. Purkey has had one or more strokes while in Defendants’ custody.


                                                 25
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 33 of 44




crime”). The fact that Mr. Purkey’s competency was in question at the time of trial, like the rest

of his mental health history, is probative evidence about “the seriousness of his illness.”

Thompson, 580 F.3d at 436. The vast majority of litigants who have met the Ford standard of

showing incompetency to be executed had previously raised their incompetency to stand trial,

like Mr. Purkey. John Blume et al., Killing the Obvious: An Empirical Study of Competency to

Be Executed Litigation, 82 UMKC L. Rev. 335, 356 (2014) (while the majority of successful

competency Ford litigants had raised competency to stand trial claims, the majority had lost

those claims.). As detailed in Mr. Purkey’s Complaint, Mr. Purkey was found competent to stand

trial only after he was transferred to another facility for treatment and for mental health

evaluation, diagnosed with psychosis, and prescribed with anti-psychotic, anti-anxiety and anti-

seizure medications. Compl. ¶¶ 64–65, ECF No. 1. This history, like Mr. Purkey’s long mental

health history generally, is probative evidence in favor of a Ford showing. Blume, 82 UMKC L.

Rev. at 355 (noting that “the legitimacy of raising a Ford claim cannot really be questioned” for

those with a “well-documented history of mental illness”); see also, State v. Perry, 610 So.2d

746, 748 (La. 1992) (finding a Ford violation and weighing as probative the fact that the

petitioner had previously raised competency to stand trial, been transferred to another facility for

treatment and evaluation, and found competent to stand trial after he was provided antipsychotic

medication).

                     ii.       Unsupported attacks on expert conclusions are also not a basis
                               for dismissal at this stage of the case.

       Defendants also attack Dr. Agharkar’s expert conclusions based solely on their own,

uninformed understanding of mental health. Mot. to Dismiss 21–25, ECF No. 18. Defendants

argue that Mr. Purkey’s lack of rational understanding for his execution is really just a lack of

understanding of the reason for scheduling his execution. Mot. to Dismiss 22, 29, ECF No. 18.


                                                 26
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 34 of 44




Defendants’ arguments seize on instances where Mr. Purkey discusses the scheduling of his

execution but overlook Dr. Agharkar’s express and repeated descriptions of Mr. Purkey’s

irrational beliefs about his execution:

               In my meeting with Mr. Purkey on November 8, 2019, Mr. Purkey
               voiced his belief that he is going to be executed in retaliation for his
               legal work. Mr. Purkey’s psychotic thought process was evident in
               our conversation.
               ...
               As the visit continued, however, Mr. Purkey began to talk about the
               ‘real reason’ he was going to be executed. He told me that he was
               actually being executed because he is filing lawsuits for other
               people’s cases. . . . He reports that the guards have told him that they
               know his legal filings are the reason for his execution, something
               they tell him all the time.

Compl. Ex. 1 at 2, 11, ECF No. 1-1.

       The closest Defendants come to grappling with these clearly legally sufficient opinions

supporting a finding of incompetency is to suggest that “Dr. Agharkar either misunderstood or

misconstrued Purkey’s statements” because in a separate document, Mr. Purkey’s pro se Bivins

lawsuit, Mr. Purkey discusses his delusions about the scheduling of his execution. Mot. to

Dismiss 23, ECF No. 18. The fact that Mr. Purkey has a delusional understanding of why an

execution date was scheduled is consistent with, and does not foreclose or contradict, the

conclusion that he has a delusional understanding of why he will be executed.

       When Defendants do quote Dr. Agharkar’s report they rely on misleading quotes. For

example, Defendants assert that Mr. Purkey understands the purpose of his execution by quoting

Dr. Agharkar’s report that Mr. Purkey “accepted he was going to be executed for the murder of

Jennifer Long” in his evaluation with Dr. Agharkar. Id. at 29. This statement is taken out of

context from the rest of Dr. Agharkar’s report. As Dr. Agharkar explains:

               Mr. Purkey lacked a rational understanding of the basis for his
               execution. While Mr. Purkey can recite the fact that his execution is
               for the murder of Jennifer Long, he lacks rational understanding of

                                                 27
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 35 of 44




               that fact. This is an example of parroting, rather than having a
               rational understanding. He lacks a true understanding or rationality
               that the murder is the basis for his execution. Instead, Mr. Purkey
               has a fixed belief that he is going to be executed in relation for his
               legal work, to prevent him from being a hassle for the government.
               This prevents him from having a rational understanding of the
               purpose of his execution.

Compl Ex. 1 at 12, ECF No. 1-1 (emphasis added).

       Elsewhere Defendants acknowledge Dr. Agharkar’s opinion that Mr. Purkey initially

attempted to “fake good” in his evaluation by Dr. Agharkar, but erroneously suggest that Dr.

Agharkar had “no basis or justification” for that conclusion. Mot. to Dismiss 22, ECF No. 18. In

fact, Dr. Agharkar’s report specifically details the corroborative evidence from the evaluation

that Mr. Purkey was attempting to hide his illness, including the fact that Mr. Purkey denied any

mental health problems to Dr. Agharkar, Compl. Ex. 1 at 11, ECF No. 1-1, and that he had

previously tried to minimize his symptoms in prior evaluations:

               Mr. Purkey took pains to attempt to hide his symptoms and deny
               that his mental health is an issue. The fact that Mr. Purkey attempted
               to say that he understands the basis for his execution is consistent
               with his long history of attempting to “fake good” and minimize his
               psychiatric symptoms including in evaluations in 1976, in 1981, and
               in 1998. Anosognosia, or lack of insight into the illness is a key
               feature of schizophrenia, as are paranoid delusions.

Compl. Ex. 1 at 12, ECF No. 1-1.

       Contrary to Defendants’ implication, a prisoner who can parrot or state his awareness of

his execution may still lack a rational understanding. Panetti is controlling on this point. The

expert in Panetti “explained [that] although [Petitioner] claims to understand that the state is

saying that it wishes to execute him for his murders, he believes in earnest that the stated reason

is a sham and the state in truth wants to execute him to stop him from preaching.” Mot. to

Dismiss 29; ECF No. 18 (quoting Panetti, 551 U.S. at 954–55). With these facts, the Supreme

Court of the United States held definitively that “[a] prisoner’s knowledge of the stated reasons

                                                 28
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 36 of 44




for his execution does not foreclose a claim of incompetency to be executed” because “[a]

prisoner’s awareness of the State’s rationale for an execution is not the same as a rational

understanding of it.” Panetti, 551 U.S. at 959. The only difference between Mr. Panetti’s and

Mr. Purkey’s understanding of their executions is that Mr. Panetti believed his execution was

motivated by his preaching whereas Mr. Purkey believes his execution is motivated by his

jailhouse lawyering. Compl. Ex. 1 at 11, ECF No. 1-1.

       Mr. Purkey’s case is similar to other state court litigation where litigants were found to

have set out valid Ford claims based on delusional understandings related to their executions,

even though they could state that the government planned to execute them as punishment for

their murder convictions. In North Carolina, death row prisoner Guy LeGrande was found

incompetent to be executed because “[w]hile he has a factual knowledge that the State can set an

execution date for the murder [he committed],” he lacked a rational understanding and awareness

of the execution because of his delusional beliefs that he would be pardoned for the murder.

Order on Defendants Motion to Stay Proceedings at 10, State v. Guy Tobias LeGrande, 95 CRS

567 (N.C. Super. Ct. June 27, 2008). The mental health expert testified, and the court credited,

that although Mr. Grande had stated his awareness that he would be executed, later questioning

showed that to be an insincere effort to minimize his appearance as mentally ill.

       In another example from Ohio, the trial court found defendant Abdul Awkal incompetent

to be executed even though all experts agreed that the defendant was aware that he was tried,

convicted, and sentenced to death for two murders. See Exhibit 1 (Memorandum Opinion and

Order) at 9, In re Ohio Execution Protocol Litig., Case 2:11-cv-01016-EAS-MRM (S.D. Ohio

Apr. 30, 2018), ECF No. 1574-1. The court credited testimony that Mr. Awkal had a delusional

belief that his death sentence was being carried out only because the CIA wanted him executed



                                                 29
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 37 of 44




in retaliation for “knowing too much” or discussing plans with President Bush and concluded

that this meant Mr. Awkal lacked a rational understanding of the purpose of his execution. Id. at

12–13. Like Mr. LeGrande and Mr. Awkal, Mr. Purkey’s delusions interfere with his rational

understanding of his execution and he is entitled to a hearing to establish his incompetency to be

executed.

                    iii.       Mr. Purkey’s own alleged statements and actions in related
                               litigation also provide no basis for dismissal.

       Defendants’ attempts to downplay the overwhelming evidence of paranoia and thought

disturbance on display in Mr. Purkey’s grievances and pro se complaints are equally unavailing.

Defendants contend that Mr. Purkey’s filings “reflect not delusions but instead calculated

strategy and understanding of legal principles.” Mot. to Dismiss 26, ECF No. 18. Defendants

argue that Mr. Purkey’s citation to caselaw demonstrates his knowledge that he must allege

retaliation in order for “otherwise permissible actions taken against inmates” to be considered

actionable. Id. But Defendants wholly ignore the bizarre nature of factual assertions that Mr.

Purkey alleges in his filings. For instance, Mr. Purkey repeatedly accused prison staff of: (1)

attempting to poison him by tampering with his food and spraying chemicals into his cell; (2)

pouring “piss” on his laundry bags; (3) plotting with other prisoners to force him to live in a cell

“caked in feces”; and (4) threatening to kill him. Compl. ¶¶ 27, 33, 35, 38, 39, ECF No. 18.

Defendants’ argument that Mr. Purkey’s filings “show on their face that he alleges retaliation in

an effort to make his complaints actionable” fails to explain how such bizarre allegations support

any strategy, let alone a calculated one. Mot. to Dismiss 26–27, ECF No. 18.

       Additionally, Mr. Purkey’s insistence that staff review camera footage to verify his

bizarre allegations (id. at 35) further demonstrates that Mr. Purkey genuinely believes the

validity of the delusions he describes—not “that he is simply lying” (id. at 27). See Compl. 35–


                                                 30
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 38 of 44




36, ECF No. 1 (citing multiple instances in which Mr. Purkey insisted that cameras would verify

the allegations in his grievances). But Defendants fail to address how such demands aid a

calculated strategy, as camera footage would only confirm that the events narrated in Mr.

Purkey’s filings are not based in reality.

       Similarly, Defendants also fail to address how the incoherent and often contradictory

nature of Mr. Purkey’s filings for the last decade could possibly be motivated by strategic choice

rather than delusional thought. Compl. Ex. 1 at 10, ECF No. 1-1. As Dr. Agharkar concluded, “a

review of these grievances from 2010 to today shows the breadth and depth of his fixed belief

that a host of actions. . . . were carried out against Mr. Purkey in ‘retaliation’ for his legal work

on behalf of himself and other prisoners.” Compl. Ex. 1 at 9; ECF No. 1-1. Both Dr. Agharkar’s

opinion and the filings underlying it, support the inference that Mr. Purkey’s longstanding

paranoia and delusional thought has prevented him from rationally understanding the reasons for

his execution.

       Defendants’ citation to Zimmerman v. Tribble, 226 F.3d 568 (7th Cir 2000), in discussing

Mr. Purkey’s understanding of the legal principles governing actionable claims is grossly

misleading. Mot. to Dismiss 26, ECF No. 18. Defendants do not cite a single grievance in which

Mr. Purkey mentions this case. Instead, Defendants refer to three grievances in which they claim

Mr. Purkey “attempts to cite to this caselaw.” Id. More importantly, whether or not Mr. Purkey

can on occasion accurately cite caselaw does not refute the plausible inference that he holds

delusional and paranoid beliefs that prevent him from understanding the basis for his execution.

See, e.g., Banks, 29 A.3d at 1146 (finding delusional defendant Ford incompetent even though

he could communicate logically at times and appropriately respond to questions asked of him).

Fundamentally, Defendants seem to confuse Mr. Purkey’s claim of incompetence with a claim of



                                                  31
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 39 of 44




intellectual disability. For the same reason, Defendants’ references to Mr. Purkey’s attempts to

learn Spanish, conversations with pen pals about his family, and efforts to wish his family happy

birthday do not contradict the fact that he lacks a rational understanding of the reasons for his

execution.

                    iv.        Mr. Purkey’s ability to work with counsel is not irrelevant.

       Defendants urge this Court to find as a matter of law that competency to be executed does

not encompass the ability to communicate with counsel. Mot. to Dismiss 28, ECF No. 18.

Defendants rely on cases that hold that a defendant’s competency to be executed under the

Eighth Amendment does not turn independently on a prisoner’s ability to work with counsel. Id.

Defendants misread this case law when they suggest that the evidence of a prisoner’s

communication difficulties is irrelevant to the Eighth Amendment analysis. As Dr. Argharkar’s

affidavit explains, as a result of Mr. Purkey’s paranoia and delusions regarding counsel, he is

distrustful of counsel and thus counsel cannot correct misunderstandings Mr. Purkey has of the

execution process and purpose. Mr. Purkey’s communication difficulties with counsel directly

relate to the question of his rational understanding of the purpose of his execution.

       Furthermore, as described above, no court has interpreted the meaning of the governing

federal statute regarding Ford claims. The American Bar Association recommends that

jurisdictions include ability to communicate or assist counsel as part of the competency to be

executed standard. ABA Task Force on Mental Disability & the Death Penalty, Recommendation

and Report on the Death Penalty and Persons with Mental Disabilities, 30 Mental & Physical

Disability L. Rep. 668, 673 (2006). As Mr. Purkey alleged in his Complaint, Compl. ¶ 104 n.5,

ECF No. 1, the majority of state statutes and decisions considering the question have found that

ability to consult with counsel rationally is relevant to the question of a prisoner’s competency to

be executed. Seven states incorporate ability to consult with counsel as a matter of statute. See

                                                 32
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 40 of 44




Alabama, Ala. Code § 15-16-23; Colorado, Colo. Rev. Stat. §§ 18-1.3 to -1.4; Mississippi, Miss.

Code Ann. § 99-19-57(2); Missouri, Mo. Rev. Stat. § 552.060(1); Nebraska, Neb. Rev. Stat.

Ann. § 29-2537; North Carolina, N.C. Gen. Stat. Ann. § 15A-1001(a); Ohio, Ohio Rev. Code.

Ann. §§ 2949.28–29; Utah, Utah Code Ann. § 77-15-2. In multiple states, including states that

no longer have the death penalty, high court decisions incorporated ability to consult and assist

counsel as a component of the competency to be executed standard. See South Carolina, State v.

Downs, 631 S.E.2d 79, 81 (S.C. 2006) (the standard for whether someone is competent to be

executed includes whether the prisoner “possesses sufficient capacity or ability to rationally

communicate with counsel”); Washington, State v. Harris, 789 P.2d 60, 63, 66 (Wash. 1990) (en

banc) (holding under state constitution and common law prisoners must have the “ability to assist

counsel” in order to be competent to be executed, because such a rule “preserves the due process

rights of defendants and the fairness which the imposition of the death penalty, particularly,

demands”); Oklahoma, Bingham v. State, 169 P.2d 311, 314–15 (Okla. Crim. App. 1946)

(adopting the rule from New Mexico Supreme Court that whether a person is incompetent to be

executed will include whether the prisoner has the “intelligence requisite to convey such

information to his attorneys or the court”); New Mexico, In Re Smith, 176 P. 819 (N.M. 1918)

(same); see also, Ford v. Wainwright, 477 U.S. at 422 n.3. (Powell, J., concurring) (noting

jurisdictions may adopt definitions of competency to be executed that include the “requirement

that the defendant be able to assist in his own defense”). Only six states explicitly reject capacity

to assist counsel as a valid consideration. See Arkansas, Ark. Code Ann. § 16-90-506(d)(1)(b)(i);

Florida, Fla. Stat. Ann. § 922.07; Indiana, Overstreet v. State, 993 N.E.2d 179 (Ind. 2013);

Kentucky, Ky. Rev. Stat. Ann. § 431.213(2); Pennsylvania, Commonwealth v. Jermyn, 652 A.2d

821, 823 (Pa. 1995); Tennessee, State v. Irick, 320 S.W.3d 284, 294 (Tenn. 2010). This Court



                                                 33
          Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 41 of 44




should reject the Defendants’ arguments that ability to work with counsel is irrelevant to the

constitutional or statutory analysis of competency to be executed.

          Mr. Purkey has, under any standard, pled sufficient facts to state a plausible claim of

incompetency to support his claim for sufficient federal Ford procedures and a Ford competency

hearing once those procedures have been effectuated.

    IV.          Venue is proper in the District of Columbia.

       Finally, venue is proper in this District under 28 U.S.C. § 1391(e). In a civil action

against a federal officer or employee defendant, venue is appropriate “in any judicial district in

which (A) a defendant in the action resides [and] (B) a substantial part of the events or omissions

giving rise to the claim occurred, or a substantial part of property that is the subject of the action

is situated.” 28 U.S.C. § 1391(e).

          In this case, Defendants reside or work in Washington, D.C. and the BOP is an agency of

the United States headquartered in D.C. Defendants’ motion does not claim otherwise.

Additionally, a substantial part of the events or omissions giving rise to the claim have occurred

in D.C. Namely, Defendants—as the heads of the United States Department of Justice and its

component agency, the Federal Bureau of Prisons, respectively—directed the issuance of Mr.

Purkey’s death warrant from D.C. and will direct the issuance of any subsequent warrant from

D.C. Defendants, acting in this District, have denied Mr. Purkey and others a constitutionally-

compliant Ford process and access to necessary and sufficient information, records, and other

evidence relating to their Ford claims. Defendants are also responsible for Mr. Purkey’s actual

execution and, contemporaneously, for ensuring that Mr. Purkey has access to the due process

required by Ford. Officials residing in this District and responsible for federal executions,

including Mr. Purkey’s execution, have failed to provide Mr. Purkey with any procedures

whatsoever or any due process to ensure that he is able to demonstrate his incompetency.

                                                   34
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 42 of 44




Specifically, these officials within this District have failed to develop any procedures for

gathering evidence in the government’s possession in advance of a Ford hearing. By declining to

develop any such procedures, those federal government officials in D.C. have prevented Mr.

Purkey from obtaining the required due process to demonstrate his incompetence during a Ford

competency hearing. Because these procedural deficiencies lie at the heart of Mr. Purkey’s due

process claim, his Complaint does in fact seek resolution of issues related to this jurisdiction.

Mot. to Dismiss 33, ECF No. 18 (citing Young v. Dir., U.S. Bureau of Prisons, 367 F.2d 331,

332 (D.C. Cir. 1966)). Moreover, several key witnesses relevant to Mr. Purkey’s competency

determination reside in close proximity to the District including Dr. Jonathan DeRight and

mitigation specialists John Fox and Dr. Elizabeth Vartkessian. Compl. ¶ 12, ECF No. 1. Key

witness proximity to the jurisdiction is yet another reason this case was filed in the proper forum.

       In sum, venue is proper in this District because Defendants reside and work in this

District and a substantial part of the events and omissions, including witnesses, are in this

District, not Indiana. Transfer would only be proper if the Court finds that Mr. Purkey is limited

to seeking redress under Ford exclusively via habeas corpus procedures.

                                         CONCLUSION

       For the foregoing reasons, Mr. Purkey respectfully requests that this Court deny in its

entirety Defendants’ Motion to Dismiss, or in the Alternative, to Transfer. Should the Court

determine that dismissal is required due to lack of ripeness or otherwise, Mr. Purkey respectfully

submits that any such dismissal should be without prejudice and subject to Mr. Purkey’s right to

amend the Complaint to cure any pleading deficiencies the Court identifies.




                                                 35
       Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 43 of 44




Dated: March 16, 2020              Respectfully Submitted,

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                                     36
        Case 1:19-cv-03570-TSC Document 20 Filed 03/16/20 Page 44 of 44




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on the 16th day of March, 2020, I caused the Memorandum in

Support of Plaintiff Wesley Purkey’s Opposition to Defendants’ Motion to Dismiss, or in the

Alternative, to Transfer to be filed electronically with the Clerk of the Court via CM/ECF, with

all authorized parties being served electronically via CM/ECF.

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